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                 Exhibit 8
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To:       Gill, Micah (USANYS)
Cc:       Sassoon, Danielle (USANYS)                            Roos, Nicolas
(USANYS)                      ; Bianco, Grant (USANYS)
From:     Neil P. Reiff
Sent:     Wed 12/14/2022 7:30:59 PM
Subject: [EXTERNAL] New York Democratic Party
Copy of $10k wire from Prime Trust LLC on behalf of Sam Bankman-Fried received into the Federal
account on_10_26_22.pdf
Copy of $107k wire from Prime Trust LLC on behalf of Nishad Singh received into the NYS Campaign
account_10_28_22.pdf

 Wire transfer copies from the New York Democratic Party

 Sam Bankman-Fried - $10,000 on 10/26/22 into the Federal account
 Nishad Singh - $107,000 on 10//28/22 into the NYS Campaign account (non-federal account)


  Neil P. Reiff
  Sandler, Reiff, Lamb, Rosenstein Et Birkenstock, P.C.
1090 Vermont Ave, NW
  Suite 750
Washington, D.C. 20005
  w.
f.

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